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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE

  DAVID JONES, individually and on behalf of
  all others similarly situated,
                                                     Case No. 2:20-cv-02248-SHL-cgc
                 Plaintiff,

  v.
                                                     CLASS ACTION
  A1 DIABETES & MEDICAL SUPPLY, INC.,
  a Tennessee corporation,                           JURY DEMAND

                 Defendant.


 PLAINTIFF’S UNOPPOSED MOTION TO EXTEND DEADLINE TO RESPOND TO
           DEFENDANT’S MOTION TO DISMISS AND/OR STRIKE

       Pursuant to Fed. R. Civ. P. 6(b)(1)(A), Plaintiff David Jones (“Plaintiff” or “Jones”)

hereby submits this Unopposed Motion to Extend Deadline to Respond to Plaintiff’s Class

Action Complaint. Plaintiff respectfully moves the Court for a twenty-one (21) day extension,

until July 1, 2020, to respond to Defendant A1 Diabetes & Medical Supply, Inc.’s (“Defendant”

or “A1”) Motion to Dismiss and/or Strike Class Allegations and Claims with Prejudice

(“Motion to Dismiss”) (dkt. 17). In support of his motion, Plaintiff states as follows:

       1.      Plaintiff commenced this action by filing a Class Action Complaint

(“Complaint”) with this Court on March 31, 2020. (Dkt. 1.) After the Court granted Defendant’s

unopposed request for an extension of time to respond, and after the Court granted leave to

Defendant to file excess pages, A1 filed its Motion to Dismiss on May 27, 2020. (Dkt. 17.)

Pursuant to Local Rule 7.2(a)(2), Plaintiff’s current deadline to respond to the Motion to

Dismiss is June 10, 2020.

       2.      In light of the previously-granted motion to permit Defendant to file excess

pages in support of its Motion to Dismiss, A1’s Motion contains a number of legal arguments
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that will require careful consideration and analysis by Plaintiff in response. As a result of the

length and complexity of Defendants’ Motion to Dismiss, counsel for Plaintiff anticipates the

need for additional time to evaluate and thoroughly brief responsive arguments. Therefore,

Plaintiff respectfully moves the Court for a twenty-one (21) day extension, up to and including

July 1, 2020, to respond to Defendant’s Motion to Dismiss.

       3.      Good cause exists for this request, and the brief extension of time requested will

not cause prejudice to either Party or the Court. Further, this extension is not sought for dilatory

reasons or any other improper purpose, and Plaintiff has not previously sought an extension to

the same effect.

       4.      Plaintiff’s counsel has conferred with counsel for Defendant who have consented

to the requested twenty-one (21) day extension.

       WHEREFORE, Plaintiff David Jones respectfully requests that the Court enter an order

granting the requested extension of time for Plaintiff to respond to Defendants’ Motion to

Dismiss up to and including July 1, 2020, and for any other relief the Court deems necessary

and just.


                                       Respectfully Submitted,

                                       DAVID JONES, individually and on behalf of class of
                                       similarly situated individuals


Dated: May 27, 2020                By: ___/s/ Patrick H. Peluso
                                              One of Plaintiff’s Attorneys

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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above titled

document was served upon counsel of record by filing such papers via the Court’s ECF system

on May 27, 2020.

                                             /s/ Patrick H. Peluso




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